             Case 1:22-cr-00053-LY Document 46 Filed 03/23/22 Page 1 of 4
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                              UNITED STATES DISTRICT COURT                        WESTERN    DISMF TEXAS
                               WESTERN DISTRICT OF TEXAS
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                                                                 2 2 CR
UNITED STATES OF AMERICA,                         §    CRIMINAL NO.
                                                  §
                         Plaintiff.               §
                                                  §    INDICTMENT
                                                  §
v.                                                §
                                                  §    [Vio:   18 U.S.C.  § 247(c)   Hate crime
                                                  §    Damage to   Religious Property;
FRANKLIN BARRETT SECHRIEST,                       §    18 U.S.C. § 844(h)Use of Fire to Commit
                                                  §    aFederal Felony;
                         Defendant.               §    18 U.S.C. § 844(i) Arson;
                                                  §    Notice of Government's Demand for
                                                  §    Forfeiture]


THE GRAND JTJRY CHARGES:


                                        COUNT ONE
                            Hate Crime Damage to Religious Property
                                       [18 U.S.C. § 247(c)]


       On or about October 31, 2021, in the Western District of Texas, Defendant,

                               FRANKLIN BARRETT SECHRIEST,

through the use and attempted use of fire, intentionally defaced, damaged, and destroyed, and

attempted to deface, damage, and destroy religious real property, that is, Congregation Beth Israel,

a synagogue located in Austin, Texas, because of the race and ethnic characteristics of any

individual associated with that religious property.

       In violation of Title 18, United States Code, Section 247(c) and (d)(3).




[NDICTMENT I SECHRIEST                                                                            Page   1
              Case 1:22-cr-00053-LY Document 46 Filed 03/23/22 Page 2 of 4




                                           COUNT TWO
                           Use of Fire to Commit a Federal Felony
                                     [18 U.S.C. § 844(h)]


       On or about October 31,   2021,   in the Western District of Texas, Defendant,

                           FRANKLIN BARRETT SECHRIEST,

knowingly used a fire to commit a violation of Title 18, United States Code, Section 247(c), a

felony which may be prosecuted in a court of the United States, as set forth in Count One of this

Indictment.

       In violation of Title 18, United States Code, Section 8 44(h).


                                          COUNT THREE
                                               Arson
                                         [18 U.S.C. § 844(i)]

       On or about October 31,   2021,   in the Western District of Texas, Defendant,

                            FRANKLIN BARRETT SECHRIEST

maliciously damaged and destroyed and attempted to damage and destroy, by means of fire, a

building and real property of Congregation Beth Israel, a synagogue located in Austin, Texas, used

in interstate and foreign commerce and in activities affecting interstate and foreign commerce.

       In violation of Title 18, United States Code, Section 844(i).




                                                                                              Page 2
INDICTMENT / SECHRIEST
               Case 1:22-cr-00053-LY Document 46 Filed 03/23/22 Page 3 of 4




               NOTICE OF GOVER1'MENT'S DEMAND FOR FORFEITURE
                            [See Fed. R. Crim. P. 32.21


                                                         I.

                            Arson Violations and Forfeiture Statutes
                   [18 U.S.C. § 844(h) & (i), subject to forfeiture pursuant to
                    18 U.S.C. § 844(c), 981(a)(1)(C) & (G), and 982(a)(2)(B),
                as made applicable to criminal forfeiture by 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts Two and Three of the Indictment,

the United States of America gives notice to the Defendant FRANKLIN BARRETT

SECIIRIEST of its intent to seek the forfeiture of certain properties upon conviction pursuant to

Fed. R. Crim. P. 32.2 and 18 U.S.C. §S 844(c), 981(a)(1)(C) & (G), and 982(a)(2)(B), as made

applicable to criminal forfeiture by 28 U.S.C.       §   2461(c), which state in pertinent part:

     18 U.S.C. § 844. Penalties
         ***
       (c)(1) Any explosive materials involved or used or intended to be used in any violation of
       the provisions of this chapter or any other rule or regulation promulgated thereunder or any
       violation of any criminal law of the United States shall be subject to seizure and forfeiture,
       and all provisions of the Internal Revenue Code of 1986 relating to the seizure, forfeiture,
       and disposition of firearms, as defmed in section 5845(a) of that Code, shall, so far as
       applicable, extend to seizures and forfeitures under the provisions of this chapter.

      18 U.S.C. § 981. Civil   Forfeiture
        (a)(1) The following property is subject to forfeiture to the United States:
           *   **
          (C) Any property, real or personal, which constitutes or is derived from proceeds
          traceable to a violation of section . 844
                                                 .     of this title or any offense constituting
                                                          .    .   .   .


          "specified unlawful activity" (as defined in section 1 956(c)(7) of this title), or a
          conspiracy to commit such offense.

          (G) All assets, foreign or domestic
             (i) of any individual, entity, or organization engaged in planning or perpetrating any
             Federal crime of terrorism (as defined in section 23 32b(g)(5)) against the United
             States, citizens or residents of the United States, or their property, and all assets,
             foreign or domestic, affording any person a source of influence of over any such
             entity or organization;
             (ii) acquired or maintained by any person with the intent and for the purpose of
             supporting, planning, conducting, or concealing any Federal crime of terrorism (as
             defined in section 233 2b(g)(5)) against the United States, citizens or residents of the
             United States of their property;


                                                                                                   Page 3
INDICTMENT / SECHRJEST
           Case 1:22-cr-00053-LY Document 46 Filed 03/23/22 Page 4 of 4




              (iii) derived from, involved in, or used or intended to be used to commit any Federal
              crime of terrorism (as defined in section 2332b(g)(5)) against the United States,
              citizens or residents of the United States, or their property; or
              (iv) of any individual, entity, or organization engaged in planning or perpetrating
              any act of international terrorism (as defined in section 2331) against any
              international organization (as defined in section 209 of the State Department Basic
              Authorities Act of 1956 (22 U.S.C. 4309(b)) or against any foreign Government.
              Where the property sought for forfeiture is located beyond the territorial boundaries
              of the United States, an act in furtherance of such planning or perpetration must have
              occurred within the jurisdiction of the United States.



     18 U.S.C. § 982.    criminal forfeiture

         (a)(2) The court, in imposing sentence on a person convicted of a violation        of',   or a
         conspiracy to violate

           (B).  . . 844. . . of this title,

           shall order that the person forfeit to the United States any property constituting, or
           derived from, proceeds the person obtained directly or indirectly, as the result of such
           violation.

                                                  A TRUE BILL:


                                                     ORIGINAL SIGNATURE
                                                    REDACTED PURSUANT TO                    -
                                                  FEGO4$IMENT ACT OF 2002



ASHLEY C. HOFF                                    KRISTEN M. CLARKE
United States Attorney                            Assistant Attorney General
Western District of Texas                         U.S. Dept. of Justice, Civil Rights Division




MATTHEW DEVLIN                                    ANDREW MANNS
Assistant United States Attorney                  Trial Attorney




                                                                                                   Page 4
INDICTMENT / SECHRJEST
